                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

LARRY HACKETHAL,                                 )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )            No. 4:15CV01398 ERW
                                                 )
HARBOR FREIGHT TOOLS USA, INC.,                  )
                                                 )
               Defendant.                        )


                               MEMORANDUM AND ORDER

       This matter comes before the Court on Defendant Harbor Freight Tools USA, Inc.’s

Motion for Protective Order. [ECF No. 23].

       Accordingly,

       IT IS HEREBY ORDERED that Defendant’s Motion for a Protective Order is

GRANTED, in part, [ECF No. 23] and the parties shall proceed with 30(b)(6) depositions of

corporate representatives. Topics will include, concerning, among other things, corporate

structure and chain of command of the “QA” and “PAC-Man” departments. The Court does not

foreclose Plaintiff’s ability to take more depositions, but will withhold consideration of any

arguments Plaintiff wishes to make for further discovery until after these initial depositions are

completed in October. The Court shall issue an amended case management order after these

depositions are completed upon request of the parties.

Dated this 23rd day of August, 2016.




                                                E. RICHARD WEBBER
                                                SENIOR UNITED STATES DISTRICT JUDGE
